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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 PATRICIA MORRISON,

                        Plaintiffs,

                        v.                              Case No. 1:22-cv-00456 (TNM)

 DISTRICT OF COLUMBIA,

                        Defendant.


                                  MEMORANDUM OPINION

       Proceeding pro se, Patricia Morrison sues the District of Columbia, alleging that the

District improperly calculated her late husband’s disability benefits. See Compl., ECF No. 1.

She says that the District’s conduct violated both federal and D.C. law. See generally id. But

she fails to state her federal claims in a digestible or comprehensible manner. Thus, the Court

will dismiss her federal claims and will decline to exercise jurisdiction over her D.C.-law claims.

       Under Federal Rule of Civil Procedure 8(a), a complaint must contain “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2).

Pleadings consistent with the Rule give fair notice of the asserted claims so that a defendant can

prepare an adequate defense. See Brown v. Califano, 75 F.R.D. 497, 498 (D.D.C. 1977). Rule 8

also “underscore[s] the emphasis placed on clarity and brevity by the federal pleading rules,” and

“[e]nforcing these rules is largely a matter for the trial court’s discretion.” Satterlee v. CIR, 195

F. Supp. 3d 327, 334 (D.D.C. 2016) (cleaned up).

       As a pro se plaintiff, Morrison is entitled to special solicitude. Yellen v. U.S. Bank, Nat’l

Ass’n, 301 F. Supp. 3d 43, 47 (D.D.C. 2018). But while the Court construes liberally the

pleadings of pro se plaintiffs like Morrison, see Haines v. Kerner, 404 U.S. 519, 520 (1972),
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those plaintiffs still must comply with Rule 8(a), see Jarrell v. Tisch, 656 F. Supp. 237, 239

(D.D.C. 1987).

         Morrison’s Complaint is anything but plain. Over 44 pages she includes 14 counts,

which mostly rely on D.C. law. See Compl. at 18–45. 1 She attempts, however, to also assert

federal claims. But the Court cannot distinguish those claims from the flotsam and jetsam

surrounding them.

         For example, Morrison often states a legal conclusion followed by stray citations to

federal law. See, e.g., id. ¶ 15 (“When (or if) pay was received it could not be calculated for

accuracy as to the Program, under direction of Defendant Ross, was not consistent with Mr.

Morrison’s pay or rate. Mathews v. Eldridge, 424 U.S. 319 (1976) (Title VII) (First Amendment

U.S. Constitution) (42 U.S.C. § 12203) (D.C. Code § 42-3502.2)[.]”)). On other occasions, she

simply recites block quotations from constitutional provisions and federal court cases, but she

never describes how those authorities, when contrasted with the facts in her Complaint, give rise

to a federal claim. See, e.g., id. ¶¶ 19–20. Indeed, the amount of federal law cited by Morrison

could support countless federal claims.

         Therein lies the problem: Morrison gives “little by way of context or explanation” as to

how these various federal laws support her claims. Satterlee, 195 F. Supp. 3d at 334. The Court

therefore does not know on which of those federal sources she relies. To complicate matters, she

often cites criminal provisions that have no private right of action. See, e.g., Compl. ¶¶ 40

(citing 18 U.S.C. § 1001); 71 (citing 18 U.S.C. § 371); 78 (citing 18 U.S.C. 241). In sum,

Morrison’s Complaint fails to put the District on notice as to the nature of her federal claims, and




1
    All page citations refer to the pagination generated by the Court’s CM/ECF filing system.


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therefore fails the most basic requirement of pleading in federal court. 2 Thus, the Court will

dismiss her Complaint without prejudice as to any federal claims that she asserts.

       That leaves her D.C. law claims, which as best the Court can tell also relate to the

District’s calculation of her husband’s disability benefits. The Court has supplemental

jurisdiction over those claims because they “form part of the same case or controversy” as

Morrison’s federal claims. 28 U.S.C. § 1367(a). But if the Court “has dismissed all claims over

which it has original jurisdiction,” it may decline to exercise supplemental jurisdiction over state-

law claims. Id. § 1367(c)(3). 3 That decision rests entirely in the Court’s discretion. See

Shekoyan v. Sibley Int’l, 409 F.3d 414, 423 (D.C. Cir. 2005). As part of that decision, the Court

considers “judicial economy, convenience, fairness, and comity.” Carnegie-Mellon Univ. v.

Cohill, 484 U.S. 343, 350 n.7 (1988). Typically, those factors disfavor exercising supplemental

jurisdiction when a court has dismissed all federal claims. Elshazli v. Dist. of Columbia, 415 F.

Supp. 3d 20, 29 (D.D.C. 2019).

       With the dismissal of Morrison’s federal claims, no claim remains over which the Court

has original jurisdiction. The Court finds that the factors listed above weigh against the exercise

of supplemental jurisdiction. Thus, the Court will decline to exercise supplemental jurisdiction

and will dismiss those claims without prejudice.




2
  The Court is not alone in its confusion. Indeed, the District argues that Morrison’s scattershot
federal references state no federal claim at all. See Mot. to Dismiss at 4. ECF No. 5-2.
3
 The District is considered a state for these purposes. Ambellu v. Re’ese Adbarat Debre Salam
Kidist Mariam, 387 F. Supp. 3d 71, 86 n.5 (D.D.C. 2019); 28 U.S.C. § 1367(e).



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       A separate Order will issue. 4
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                                                                            -04'00'
Dated: April 25, 2022                                TREVOR N. McFADDEN
                                                     United States District Judge




4
  The District moved to dismiss the Complaint but did not state Rule 8 or supplemental
jurisdiction as a basis for dismissal. Because of the Court’s independent dismissal of the
Complaint on those grounds, the Court will deny the District’s motion as moot.


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